     Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 1 of 15



                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

CELLETTE CRAWFORD                                     *     NO. 17-13397
                                                      *
VERSUS                                                *
                                                      *
MARLIN N. GUSMAN, ET AL                               *
                                                      *     SECTION “B” (4)
                                                      *
                                                      *
* * * * * * * * * * * * * * * *

                                   ANSWER AND DEFENSES

       NOW INTO COURT, through undersigned counsel come defendants, Marlin N. Gusman,

the Sheriff of Orleans Parish and Deputy Savage, who answer petitioner's Complaint as follows:

                                           INTRODUCTION

                                                 1.

       The allegations of paragraph I of the complaint are denied.

                                                 2.


       The allegations of paragraph II of the complaint are denied for lack of sufficient

information to justify a belief therein.


                                                 3.


       The allegations of paragraph III of the complaint are denied for lack of sufficient

information to justify a belief therein.


                                                 4.


       The allegations of paragraph IV of the complaint are admitted only as to the status of

these defendants. All other allegations are denied.
     Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 2 of 15



                                                 5.


       The allegation of paragraph V of the complaint are not directed to these defendants and

therefore require no response. To the extent a response is required, same is denied.


                                                 6.


       The allegation of paragraph VI of the complaint are not directed to these defendants and

therefore require no response. To the extent a response is required, same is denied.


                                                 7.


       The allegations of paragraph VII of the complaint are admitted only as to the status of

these defendants. All other allegations are denied.


                                                 8.


       The allegation of paragraph VIII of the complaint are not directed to these defendants and

therefore require no response. To the extent a response is required, same is denied.


                                                 9.


       The allegation of paragraph IX of the complaint are not directed to these defendants and

therefore require no response. To the extent a response is required, same is denied.


                                                 10.


       The allegation of paragraph X of the complaint are not directed to these defendants and

therefore require no response. To the extent a response is required, same is denied.
     Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 3 of 15



                                                 11.


       The allegations of paragraph XI of the complaint are denied for lack of sufficient

information to justify a belief therein.


                                                 12.


       The allegation of paragraph XII of the complaint are not directed to these defendants and

therefore require no response. To the extent a response is required, same is denied.


                                                 13.


       The allegations of paragraph XIII of the complaint are denied for lack of sufficient

information to justify a belief therein.


                                                 14.

       The allegations of paragraph XIV of the complaint are denied.

                                                 15.

       The allegations of paragraph XV of the complaint are denied.

                                                 16.


       The allegations of paragraph XVI of the complaint are denied for lack of sufficient

information to justify a belief therein.


                                                 17.


       The allegations of paragraph XVII of the complaint are denied for lack of sufficient

information to justify a belief therein.
     Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 4 of 15



                                                18.


       The allegations of paragraph XVIII of the complaint are denied for lack of sufficient

information to justify a belief therein.


                                                19.

       The allegations of paragraph XIX of the complaint are denied.

                                                20.

       The allegations of paragraph XX of the complaint are denied.

                                                21.

       The allegations of paragraph XXI of the complaint are denied.

                                                22.

       The allegations of paragraph XXII of the complaint are denied.

                                                23.


       The allegations of paragraph XXIII of the complaint are denied for lack of sufficient

information to justify a belief therein.


                                                24.


       The allegations of paragraph XXIV of the complaint are denied for lack of sufficient

information to justify a belief therein.


                                                25.


       The allegations of paragraph XXV of the complaint are denied for lack of sufficient

information to justify a belief therein.
     Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 5 of 15



                                               26.


       The allegations of paragraph XXVI of the complaint are denied for lack of sufficient

information to justify a belief therein.


                                               27.

       The allegations of paragraph XXVII of the complaint are denied.

                                               28.

       The allegations of paragraph XXVIII of the complaint are denied.

                                               29.

       The allegations of paragraph XXIX of the complaint are denied.

                                               30.

       The allegations of paragraph XXX of the complaint are denied.

                                               31.

       The allegations of paragraph XXXI of the complaint are denied.

                                               32.

       The allegations of paragraph XXXII of the complaint are denied.

                                               33.

       The allegations of paragraph XXXIII of the complaint are denied.

                                               34.

       The allegations of paragraph XXXIV of the complaint are denied.

                                               35.

       The allegations of paragraph XXXV of the complaint are denied.

                                               36.

       The allegations of paragraph XXXVI of the complaint are denied.
Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 6 of 15



                                         37.

 The allegations of paragraph XXXVII of the complaint are denied.

                                         38.

 The allegations of paragraph XXXVIII of the complaint are denied.

                                         39.

 The allegations of paragraph XXXIX of the complaint are denied.

                                         40.

 The allegations of paragraph XL of the complaint are denied.

                                         41.

 The allegations of paragraph XLI of the complaint are denied.

                                         42.

 The allegations of paragraph XLII of the complaint are denied.

                                         43.

 The allegations of paragraph XLIII of the complaint are denied.

                                         44.

 The allegations of paragraph XLIV of the complaint are denied.

                                         45.

 The allegations of paragraph XLV of the complaint are denied.

                                         46.

 The allegations of paragraph XLVI of the complaint are denied.

                                         47.

 The allegations of paragraph XLVII of the complaint are denied.
Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 7 of 15



                                          48.

 The allegations of paragraph XLVIII of the complaint are denied.

                                          49.

 The allegations of paragraph XLIX of the complaint are denied.

                                          50.

 The allegations of paragraph L of the complaint are denied.

                                          51.

 The allegations of paragraph LI of the complaint are denied.

                                          52.

 The allegations of paragraph LII of the complaint are denied.

                                          53.

 The allegations of paragraph LIII of the complaint are denied.

                                          54.

 The allegations of paragraph LIV of the complaint are denied.

                                          55.

 The allegations of paragraph LV of the complaint are denied.

                                          56.

 The allegations of paragraph LVI of the complaint are denied.

                                          57.

 The allegations of paragraph LVII of the complaint are denied.

                                          58.

 The allegations of paragraph LVIII of the complaint are denied.
Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 8 of 15



                                         59.

 The allegations of paragraph LIX of the complaint are denied.

                                         60.

 The allegations of paragraph LX of the complaint are denied.

                                         61.

 The allegations of paragraph LXI of the complaint are denied.

                                         62.

 The allegations of paragraph LXII of the complaint are denied.

                                         63.

 The allegations of paragraph LXIII of the complaint are denied.

                                         64.

 The allegations of paragraph LXIV of the complaint are denied.

                                         65.

 The allegations of paragraph LXV of the complaint are denied.

                                         66.

 The allegations of paragraph LXVI of the complaint are denied.

                                         67.

 The allegations of paragraph LXVII of the complaint are denied.

                                         68.

 The allegations of paragraph LXVIII of the complaint are denied.

                                         69.

 The allegations of paragraph LXIX of the complaint are denied.
     Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 9 of 15



                                                 70.

       The allegations of paragraph LXX of the complaint are denied.

                                                 71.

       The allegations of paragraph LXXI of the complaint are denied.

                                                 72.

       The allegations of paragraph LXXII of the complaint are denied.

                                                 73.

       The allegations of paragraph LXXIII of the complaint are denied.

                                                 74.

       The allegations of paragraph LXXIV of the complaint are denied.

                                                 75.

       The allegations of paragraph LXXV of the complaint are denied.

                                                 76.

       The allegations of paragraph LXXVI of the complaint are denied.

                                                 77.

       The allegations of paragraph LXXVII of the complaint are denied.

                                                 78.

       The allegations of paragraph LXXVIII of the complaint are denied.

                                                 79.

       The allegations of paragraph LXXIX of the complaint are denied.

                                                 80.


       The allegation of paragraph LXXX of the complaint are not directed to these defendants

and therefore require no response. To the extent a response is required, same is denied.
    Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 10 of 15



                                                 81.


       The allegation of paragraph LXXXI of the complaint are not directed to these defendants

and therefore require no response. To the extent a response is required, same is denied.


                                                 82.


       The allegation of paragraph LXXXII of the complaint are not directed to these defendants

and therefore require no response. To the extent a response is required, same is denied.


                                                 83.

       The allegations of paragraph LXXXIII of the complaint are denied.

                                                 84.

       The allegations of paragraph LXXXIV of the complaint are denied.

                                                 85.


       Defendants re-allege and reassert their responses to paragraph X through LXXXV of the

complaint.


                                                 86.

       The allegations of paragraph LXXXVI of the complaint are denied.

                                                 87.

       The allegations of paragraph LXXXVII of the complaint are denied.

                                                 88.

       The allegations of paragraph LXXXVIII of the complaint are denied.

                                                 89.

       The allegations of paragraph LXXXIX of the complaint are denied.
    Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 11 of 15



                                               90.

       The allegations of paragraph XC of the complaint are denied.

                                               91.


       Defendants re-allege and reassert their responses to paragraph X through XCI of the

complaint.


                                               92.

       The allegations of paragraph XCII of the complaint are denied.

                                               93.

       The allegations of paragraph XCIII of the complaint are denied.

                                               94.

       The allegations of paragraph XCIV of the complaint are denied.

                                               95.

       The allegations of paragraph XCV of the complaint are denied.

                                               96.

       The allegations of paragraph XCVI of the complaint are denied.

                                               97.

       The allegations of paragraph XCVII of the complaint are denied.

                                               98.

       The allegations of paragraph XCVIII of the complaint are denied.

                                               99.

       The allegations of paragraph XCIX of the complaint are denied.

                                            100.

       The allegations of paragraph C of the complaint are denied.
    Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 12 of 15



                                             101.


       The allegations of paragraph CI of the complaint are denied on the grounds that the

documents referred to are the best evidence of their terms and contents.


                                             102.

       The allegations of paragraph CII of the complaint are denied.

                                             103.

       Defendants re-allege and reassert their responses to paragraph CIII of the complaint.

                                             104.

       The allegations of paragraph CIV of the complaint are denied.

                                             105.

       The allegations of paragraph CV of the complaint are denied.

                                             106.

       The allegations of paragraph CVI of the complaint are denied.

                                             107.


       The allegation of paragraph CVII of the complaint are not directed to these defendants

and therefore require no response. To the extent a response is required, same is denied.


                                             108.

       The allegations of paragraph CVIII of the complaint are denied.

                                             109.

       The allegations of paragraph CIX of the complaint are denied.

                                             110.

       The allegations of paragraph CX of the complaint are denied.
     Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 13 of 15



                                                111.

       The allegations of paragraph CXI of the complaint are denied.


                                  AFFIRMATIVE DEFENSES

                                          FIRST DEFENSE

       The Complaint fails to state a claim against the defendants upon which relief can be

granted.

                                       SECOND DEFENSE

       The Court is without jurisdiction in this matter, inasmuch as there is no diversity of

citizenship between the parties hereto.

                                          THIRD DEFENSE

       The Court is without jurisdiction in this matter, inasmuch as the amount of controversy

exclusive of interests and costs does not exceed the sum and value of $75,000.00

                                       FOURTH DEFENSE

       The Court is without jurisdiction as to all claims asserted by the complainant in this

matter, inasmuch as the Complaint fails to state a proper claim of relief under the Constitution of

the United States or any United States statute.

                                          FIFTH DEFENSE

       Defendants herein plead that any action taken by them was done in good faith and with

probable cause, without malice and under laws believed to be constitutional.

                                          SIXTH DEFENSE

       That the deceased, Colby Crawford, by virtue of his own actions and conduct was guilty

of negligence and/or contributory negligence and/or assumption of the risk, all of which will be

more fully shown at the trial of this matter.
     Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 14 of 15



                                       SEVENTH DEFENSE

        Defendants aver that at all times herein, their actions were reasonable, justified and

legally permissible under the circumstances.

                                        EIGHTH DEFENSE

        Defendants specifically plead that they are entitled to and protected by the qualified

immunity afforded to public officials for acts committed during the course of their official duties.

                                         NINTH DEFENSE

        Despite having adequate and reasonable opportunity to do so, complainant failed to

mitigate her damages so that any recovery sought herein should be reduced or be precluded

entirely.

                                        TENTH DEFENSE

        In the alternative, defendants herein specifically plead the fault of third parties as a legal

cause of any damages that complainant may have sustained as a result of the incident complained

of in this lawsuit.

                                      ELEVENTH DEFENSE

        As a political subdivision of the State of Louisiana, defendants are entitled to and hereby

plead the statutory limitation of liability, costs and interest contained in LSA-R.S. 13:5106 and

LSA-R.S. 13:5112, as well as any other statutory or jurisprudential limitation of liability, costs,

and interest available to defendants under the law.

                                      TWELFTH DEFENSE

        As a political entity defendants are entitled to and hereby plead the statutory limitation of

liability as provided for in LSA-R.S. 9:2798.1.

        WHEREFORE, defendants pray that this answer be deemed good and sufficient and after
     Case 2:17-cv-13397-ILRL-KWR Document 57 Filed 09/05/18 Page 15 of 15



due proceedings there be judgment herein dismissing complainant’s Complaint with prejudice

and at her costs.




                                             Respectfully submitted,

                                             ORLEANS PARISH SHERIFF’S OFFICE

                                             ___/s/ Freeman R. Matthews_________
                                             BLAKE J. ARCURI (LSBN 32322)
                                             LAURA C. RODRIGUE (LSBN 30428)
                                             FREEMAN R. MATTHEWS (LSBN 9050)
                                             Orleans Parish Sheriff’s Office
                                             2800 Perdido St.
                                             New Orleans, LA 70119
                                             Telephone: 504.493.2107; Fax: 504.202.9454
                                             arcurib@opso.us; rodriguela@opso.us
                                             COUNSEL FOR DEFENDANT
                                             -PUBLIC ENTITY/FEE EXEMPT-
                                             (See La. R.S. 13:4521 & 13:5112)

                                CERTIFICATE OF SERVICE

        I do hereby certify that on this 5th day of September 2018, a copy of the foregoing was
filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will
be sent by operation of the court’s electronic filing system. I also certify that a copy of the
foregoing will be sent to all non-CM/ECF participant(s) by United States Mail, properly
addressed and postage pre-paid.

                                                     ___/s/Freeman R. Matthews
